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                            UNITED STATES DISTRICT COURT
                                      FOR THE
                              DISTRICT OF CONNECTICUT

                            §
ANGEL CALDERON,             §
    Plaintiff,              § C. A. No.: 3:17-cv-01640-DJS
                            §
v                           §
                            §
AMERICAN ADJUSTMENT BUREAU, §
    Defendant.              §
                            §
                            §
                            §
                    NOTICE OF SETTLEMENT

TO THE CLERK:

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

settlement. The parties anticipate filing a stipulation of dismissal of this action with prejudice

pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



                                              RESPECTFULLY SUBMITTED,

  DATED: April 9, 2018
                                             By: /s/ Angela K. Troccoli
                                                Angela K. Troccoli, Esquire, #ct28597
                                                Kimmel & Silverman, P.C.
                                                The New England Office
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                                                (860) 866-4380
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                                                 Attorney for the Plaintiff
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                                 CERTIFICATE OF SERVICE

  I hereby certify that on the 9th day of April, 2018, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of the court’s electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this document through the court’s CM/ECF System.


                                               /s/ Angela K. Troccoli
                                               Angela K. Troccoli, Esquire
